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     and on behalf of all others similarly situated
13

14                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
15

16 JERRY DAVIDSON, individually, and on               Case No.: 8:20-cv-00636
     behalf of all others similarly situated,
17                                                    SECOND AMENDED CLASS
18                              Plaintiff,            ACTION COMPLAINT
19                              v.
20
     UNITED AUTO CREDIT CORPORATION,                  JURY TRIAL DEMANDED
21 a California corporation,

22
                                Defendant.
23

24

25

26
27

28

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 1
                  SECOND AMENDED CLASS ACTION COMPLAINT
 2

 3         Plaintiff, JERRY DAVIDSON, individually and on behalf of all others
 4
     similarly situated, sues Defendant, UNITED AUTO CREDIT CORPORATION, a
 5
     California corporation, and alleges:
 6

 7                                    INTRODUCTION
 8
           1.     This Complaint seeks to enforce the Military Lending Act, 10 U.S.C. §
 9
     987, (“MLA”) enacted to protect members of the United States Military from an
10

11 epidemic of predatory lending that endangers our Nation’s military readiness and

12
     impacts service member retention. The MLA was specifically enacted to regulate the
13
     commercial lending practices and products offered to covered borrowers who are
14

15 active duty military and their dependents.

16
           2.     UNITED AUTO CREDIT CORPORATION (“Defendant” or “United”)
17
     is a sub-prime lending corporation who, among other things, finances loans for
18

19 automotive dealers throughout the United States.

20
           3.     Plaintiff JERRY DAVIDSON (“Plaintiff”) was on active duty status
21
     with the United States Army, working as an Aviation Operations Supervisor. He was
22

23 and still is married to Rebecca Ollison, who is an active duty member of the United

24
     States Army currently stationed at Fort Belvoir, Virginia. In October of 2018,
25

26
     Plaintiff obtained financing from United that qualified for MLA protections.

27         4.     United is subject to the MLA’s mandatory disclosures and limitations
28
     because it extends consumer credit to covered borrowers. It has a duty to make
                                             -2-
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 1 reasonable inquiry when lending money as to whether the borrower is a covered

 2
     member under the MLA. As part of the implementing regulations, a database was
 3

 4 created to assist lenders with the identification of the borrowers that Congress sought

 5 to protect. United does not make any inquiry, let alone a reasonable inquiry before

 6
     offering financing to members of the United States Military, such as Plaintiff.
 7

 8         5.     United’s standard form Installment Contract with Plaintiff fails to

 9 comply with the MLA because it requires Plaintiff to submit to arbitration, does not

10
     provide required written or oral disclosures, does not provide accurate MLA cost of
11

12 credit financing disclosures, and misstates the Military Annual Percentage Rate

13 which was 3.32% higher than what was listed on the contract, each of which are

14
     violations of the MLA.
15

16         6.     The MLA’s “Penalties and Remedies” provides that a violation of the
17 MLA renders the contract void from inception.

18
           7.     Upon information and belief, United’s unlawful and deceptive conduct
19

20 uses a uniform process on all of the loans it provides throughout the United States in

21 that it fails to make any inquiry to determine a borrower’s status that would prescribe

22
     MLA protections and disclosures. Because United does not inquire of its borrowers
23

24 about their status and because United utilizes standard form Installment Contracts and

25 methods of calculation in determining the cost of credit disclosures on the contracts,

26
     this case is well suited for class action treatment for violations of the MLA.
27

28

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 1                               JURISDICTION AND VENUE
 2
           8.      This Court has jurisdiction over this matter pursuant to 10 U.S.C.A. §
 3

 4 987, 28 U.S.C. §1331 and 1337.

 5         9.      Venue is proper in this district pursuant to 10 U.S.C.A. § 987 and 28
 6
     U.S. §1391.
 7

 8                                          PARTIES

 9         10.     At all times material hereto, Plaintiff Davidson was sui juris and a
10
     resident of Virginia.
11

12         11.     At all times material hereto, United, was and is a California corporation,

13 headquartered in Newport Beach, California. At all times material hereto, United

14
     finances motor vehicles in throughout the United States.
15

16         12.     At all times relevant hereto, Plaintiff was on active duty status with the
17 United States Army and his wife who is co-obligor on the loan was and is on active

18
     duty military status.
19

20                                 FACTUAL ALLEGATIONS
21                           The Military Lending Act, 10 U.S.C. §987
22
           13.     The United States Congress passed the Military Lending Act of 2006
23

24 (hereinafter “MLA”) and was implemented as part of the John Warner National

25 Defense Authorization Act for Fiscal Year 2007, Section 670, to protect military

26
     servicemembers from unfair or abusive loan or credit sale transactions, such as high
27

28

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 1 interest, short-term, or installment loans to inexperienced military borrowers, who in

 2
     years prior to enactment had fell victim to predatory lending.
 3

 4         14.    The MLA directs the Secretary of Defense to prescribe regulations to

 5 carry out the MLA, specifically to include definitions for the terms “creditor,”

 6
     “consumer credit” and “finance charges” for purposes of calculating the Military
 7

 8 Annual Percentage Rate (“MAPR”).

 9         15.    The MLA requires certain disclosure when it extends “consumer credit”
10
     to covered borrowers and directs the Secretary of Defense to prescribe regulations to
11

12 carry out the purpose of the MLA, specifically to include definitions for terms

13 “creditor” and “consumer credit.”

14
           16.    Under the MLA, creditors must provide specific written and oral
15

16 disclosures pursuant to 32 CFR § 232.6 relating to the cost of credit, such as a

17 statement of Military Annual Percentage Rate (MAPR) and a clear description of

18
     payment obligations.
19

20         17.    The MLA also prohibits creditors from requiring military borrowers to
21 submit to arbitration and waive legal rights, such as an award of punitive damages,

22
     under state and federal law.
23

24         18.    There is an exception to the definition of “consumer credit” for credit
25 extended for the purchase of a motor vehicle or personal property that, as a general

26
     rule, exempts purchase-money automotive loans from coverage of the MLA.
27

28 However, a transaction can lose qualification for the exemption by including

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 1 additional credit-related costs within the loan. Therefore, a purchase money vehicle

 2
     loan that also includes a credit-related product or service such as GAP removes the
 3

 4 loan from the exclusion.

 5         19.    The Retail Installment Contract and Security Agreement presented to
 6
     Plaintiff included amounts in addition to the cost of the vehicle and the costs related
 7

 8 to the vehicle. Specifically, the transaction included GAP protection and other credit

 9 extended primarily for personal, family, or household purposes that is subject to a

10
     finance charge which meets the definition of consumer credit pursuant to CFR 232.3.
11

12         20.    The MLA places a duty on creditors to determine whether a potential

13 borrower is a “covered borrower” and provides an easy to implement safe harbor to

14
     protect a creditor from liability if they reasonably implement the procedure.
15

16 Specifically, the MLA permits creditors to use two methods when ascertaining

17 whether a consumer is a covered borrower for purposes of the MLA’s protections: (1)

18
     The MLA Database maintained by the Department of Defense, and (2) consumer
19

20 reports from a nationwide credit reporting agency. Despite the MLA’s grant of a safe

21 harbor if either of these methods are used, upon information and belief, United

22
     systematically fails to implement policies and procedures to ascertain whether a
23

24 consumer is a military borrower subject to the MLA protections just as it did in the

25 case of the Plaintiff. Additionally, United fails to make even the most basic inquiry as

26
     to whether its borrowers are subject to the MLA as part of its application process.
27

28

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 1                                           United
 2          21.   United is a lending creditor for vehicles purchased throughout the United
 3
     States. It forms relationships with subprime auto dealerships through its “Dealer
 4

 5 Partner” program which enrolls dealerships and agrees to accept assignment of loans

 6
     and has “standard stipulations” which do not include any guidance about lending to
 7
     borrowers covered by the Military Lending Act.
 8

 9          22.   United has financed tens of thousands of automobile loans totaling
10
     hundreds of millions of dollars.
11
            23.   It currently has over 4,500 auto dealer customers and has provided auto
12

13 loans totaling over $350 million to over 53,000 borrowers.

14
            24.   Upon information and belief, United employs standard form Retail
15
     Purchase Agreements and Retail Installment Contracts for loans at all of their
16

17 locations across the United States, with no relevant variations.

18
            25.   Despite providing financing for thousands of automotive dealer locations
19
     across the United States, upon information and belief, United has systematically
20

21 failed to develop policies and procedures to ascertain if a consumer is a military

22
     service member subject to the MLA and to conform those loans to the dictates of the
23

24
     MLA.

25          26.   United has uniformly and systematically failed to implement policies
26
     and procedures to ensure compliance with the MLA’s mandatory disclosures and
27

28
     limitations as part of their standard form Retail Installment Contracts that United uses

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 1 uniformly.      There is no mention of MLA protections appearing anywhere on
 2
     Plaintiff’s loan agreement and none were provided.
 3

 4                                       Plaintiff’s Loan

 5         27.     Plaintiff serves in the United States Army.
 6
           28.     On October 13, 2018, Plaintiff went to “Select Cars of Thornburg” in
 7

 8 Fredericksburg, Virginia near where Plaintiff is stationed. Plaintiff wanted to

 9 purchase a vehicle. The dealer primarily finances its automotive loans through

10
     Defendant, United. Plaintiff provided his social security number and other credit
11

12 information to the automotive dealer. Neither the dealer nor United who provided the

13 financing on the same day provided any disclosure to Plaintiff of his rights pursuant

14
     to the MLA.
15

16         29.     To obtain the financing, Plaintiff signed a United standard form
17 Installment Contract, attached hereto as Exhibit A.

18
           30.     In the “Itemization of Amount Financed” paragraph on page 1 of
19

20 United’s standard form Installment Contract with Plaintiff, the total amount United

21 financed to Plaintiff stated $14,698.24 and the annual percentage rate was stated as

22
     22.99%. See Exhibit A. No Military Annual Percentage Rate (MAPR) was stated on
23

24 any document provided to Plaintiff.

25         31.     The “Itemization of Amount Financed” on Page 2 of Plaintiff’s contract
26
     sets forth amounts in excess of the cost of the vehicle that are credit related costs,
27

28 specifically, a Processing Fee of $250.00; and a fee for GAP of $395.00 and stated in

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 1 a line item labeled “Prepaid Interest N/A” even though the transaction included

 2
     $129.61 in prepaid interest. See Exhibit A.
 3

 4         32.   United’s standard form Installment Contract that provides financing for

 5 the additional consumer credit which causes such transactions to be subject to the

 6
     MLA’s protections.
 7

 8         33.   United standard form Installment Contracts fail to properly disclose the

 9 accurate finance charges as defined by the MLA, fail to provide the standard written

10
     MLA disclosures, and because the original creditors do not provide oral disclosures,
11

12 the Contracts fail to provide a method to obtain the oral disclosures as required by the

13 MLA and the Code of Federal Regulations. Each of these failures are separate

14
     violations the MLA.
15

16         34.   United’s standard form Installment Contract also contains a paragraph
17 labeled “Arbitration Provision,” which requires Plaintiff to submit to arbitration for

18
     any dispute arising with United, which is unlawful under the MLA and is a separate
19

20 violation of the MLA.

21         35.   Upon information and belief, United has entered into thousands of
22
     installment contracts financing credit-related costs identical to Plaintiff’s Retail
23

24 Installment    Agreement, which also include unlawful mandatory arbitration
25 provisions.

26
           36.   Each United standard form Installment Contract executed by a
27

28 servicemember, their spouse or a dependent of a servicemember is void under the

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 1 MLA where it (a) fails to provide the written and oral disclosures required by the

 2
     MLA; (b) fails to properly disclose the true cost of financing calculated pursuant to
 3

 4 the MLA; and that (c) contains a mandatory arbitration clause.

 5                                 CLASS ALLEGATIONS
 6
           37.    Plaintiff brings this case as a class action, pursuant to Rule 23 of the
 7

 8 Federal Rules of Civil Procedure. The proposed classes include all covered borrowers

 9 in the United States as defined by the MLA that entered into an Installment Contract

10
     in substantially the same form as Exhibit A and are further defined for each separate
11

12 violation as follows:

13         MLA Disclosure Class: Where United failed to provide written and oral
14         disclosures pursuant to the Code of Federal Regulation;

15         MLA Inaccurate Cost of Credit Class: Where United failed to provide
           properly calculated MLA Cost of Credit Disclosures.
16

17         Arbitration Clause Class: Where the contract contains an arbitration
           provision in substantially the same form as Exhibit A.
18
           38.    Collectively, the Classes are referred to herein as the “Class.” Expressly
19

20 excluded from the Class are: (a) any Judge or Magistrate presiding over this action

21
     and members of their families; (b) Defendant and any entity in which Defendant has a
22
     controlling interest, or which has a controlling interest in Defendant, and its legal
23

24 representatives, assigns and successors; and (c) all persons who properly execute and

25
     file a timely request for exclusion from the Class.
26
27

28

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 1         39.   Plaintiff reserves the right to amend the Class definitions if further
 2
     investigation and discovery indicates that the Class definitions should be narrowed,
 3

 4 expanded, or otherwise modified.

 5                                   Rule 23(a) Criteria
 6
           40.   Numerosity. United’s scheme has harmed and continues to harm military
 7

 8 consumers. The members of the proposed Class are so numerous that joinder of all

 9 members is impracticable.

10
           41.   The exact number of Class members is unknown as such information is
11

12 in the exclusive control of United. However, upon information and belief, United is

13 one of the ten largest non-prime automobile lenders in the United States. It currently

14
     has over 4,500 auto dealer customers and has provided auto loans totaling over $350
15

16 million to over 53,000 borrowers. Furthermore, due to the nature of the trade and

17 commerce involved and the fact that United is a sub-prime finance company

18
     providing financing to automotive dealers at locations many of which are located near
19

20 military bases, Plaintiff believes the Class consists of easily thousands of consumers.

21 The Defendant makes these loans to dealers located at geographically dispersed

22
     locations throughout the United States, making joinder of all Class members
23

24 impracticable.

25         42.   Commonality. Common questions of law and fact affect the right of each
26
     Class member and common relief by way of damages is sought for Plaintiff and Class
27

28 members.

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 1        43.   The harm that United has caused or could cause is substantially uniform
 2
     with respect to Class members. Common questions of law and fact that affect the
 3

 4 Class members include, but are not limited to:

 5              a.    Whether United entered into standard form Installment Contracts
 6
                      with servicemembers and their dependents;
 7

 8              b.    Whether in its standard form Installment Contracts with

 9                    servicemembers and their dependents, United financed amounts in
10
                      excess of the cost of the vehicle that were credit-related costs
11

12                    under the MLA;

13              c.    Whether the fees in addition to the cost of the vehicle itself are
14
                      credit-related costs under the MLA;
15

16              d.    Whether United failed to provide required MLA written and oral
17                    disclosures;
18
                e.    Whether United failed to provide accurate MAPR disclosures;
19

20              f.    Whether United’s standard form Installment Contracts contain an
21                    arbitration clause in violation of the MLA;
22
                g.    Whether the Contracts are void and what the appropriate remedy
23

24                    should be; and
25              h.    Whether members of the Class have sustained damages in addition
26
                      to statutory damages and, if so, the proper measure of such
27

28                    damages;

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 1         44.    Typicality. The claims and defenses of the representative Plaintiff are
 2
     typical of the claims and defenses of the Class because he is an active duty member
 3

 4 of the United States Military and his transaction with the Defendant was typical of the

 5 type of car purchase and finance arrangement that Defendant normally does. The

 6
     documents involved in the transaction were standard form documents and the
 7

 8 violations are statutory in nature. Plaintiff suffered statutory and actual damages of

 9 the same type and in the same manner as the Class he seeks to represent. There is

10
     nothing peculiar about Plaintiff’s claims.
11

12         45.    Adequacy. The representative Plaintiff will fairly and adequately assert

13 and protect the interests of the Class. Plaintiff has no conflict of interest that will

14
     interfere with maintenance of this class action. He has hired attorneys who are
15

16 experienced in prosecuting class action claims and consumer protection laws and will

17 adequately represent the interests of the class.

18
                                         Rule 23 (b) Criteria
19
           46.    Predominance and Superiority. A class action provides a fair and
20

21 efficient method for the adjudication of this controversy for the following reasons:

22
                  a.    The common questions of law and fact set forth herein
23
                        predominate over any questions affecting only individual Class
24

25                      members. The statutory claims under the MLA require a simple
26
                        identification of those consumers who are covered members under
27

28

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 1                   the statute accomplished through the MLA database, an act that
 2
                     could have and should have been done at the time of application.
 3

 4              b.   The Class is so numerous as to make joinder impracticable.

 5                   However, the Class is not so numerous as to create manageability
 6
                     problems. There are no unusual legal or factual issues that would
 7

 8                   create manageability problems;

 9              c.   Prosecution of a separate action by individual members of the
10
                     Class would create a risk of inconsistent and varying adjudications
11

12                   against Defendant when confronted with incompatible standards

13                   of conduct;
14
                d.   Adjudications with respect to individual members of the Class
15

16                   could, as a practical matter, be dispositive of any interest of other
17                   members not parties to such adjudications, or substantially impair
18
                     their ability to protect their interests;
19

20              e.   Upon information and belief, Defendant is responsible for
21                   violating the MLA within this District, making this forum
22
                     appropriate for the litigation of the claims of the entire Class; there
23

24                   are very few attorneys in the United States with any expertise or
25                   experience in this nascent area of law making it nearly impossible
26
                     for class members to find adequate representation; and the claims
27

28                   of the individual Class members are small in relation to the

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 1                        expenses and efforts required by the litigation, making a Class
 2
                          action the only procedural method of redress in which Class
 3

 4                        members can, as a practical matter, recover.

 5          47.    Defendant has acted and refused to act on grounds generally applicable
 6
     to the Class, thereby making declaratory relief and corresponding final injunctive
 7

 8 relief under Rule 23(b)(2) appropriate with respect to the Classes as a whole.

 9 Defendant should be enjoined from financing to consumers without making a

10
     reasonable effort to determine whether a borrower is protected by the MLA; from
11

12 entering into agreements with covered borrowers without providing mandated written

13 and oral disclosures; and from charging for credit-related costs without providing an

14
     accurately calculated and Cost of Credit disclosures so that servicemembers and their
15

16 dependents can base their credit decisions on correct costs of credit disclosures

17 required by the MLA. United should additionally be enjoined from including

18
     arbitration clauses in their Installment Contracts that are subject to MLA protection.
19

20                                           COUNT I
                                  Violation of the Military Lending Act
21                                         10 U.S.C. §987(c)(1)
22                                       (MLA Disclosure Class)
23          48.    Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 47
24
     as if set forth herein in full.
25

26          49.    Servicemember Plaintiff was a “covered borrower” and “covered
27 member” as those terms are defined pursuant to 32 C.F.R. §232.3(g).

28

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 1         50.    United was a “creditor” which provided “credit” to Servicemember
 2
     Plaintiff as those terms are defined in 32 C.F.R. §232.3(h) and (i).
 3

 4         51.    On October 13, 2018, Plaintiff entered into a standard form Installment

 5 Contract with United, which was utilized for all Class members, that financed credit-

 6
     related costs in amounts in excess of the costs of Plaintiff’s and Class members’
 7

 8 vehicles, subjecting United to MLA regulations.

 9         52.    Specifically, the identifiable credit-related costs United financed were a)
10
     GAP Coverage ($395.00); b) Processing Fee ($250.00); and completely undisclosed
11

12 Prepaid Interest ($129.61). See Exhibit A.

13         53.    Plaintiff’s and Class members’ standard form Installment Contracts do
14
     not provide required MLA written and oral disclosures in the manner required by 10
15

16 U.S.C. § 987 and 32 CFR § 232.6.

17         54.    The MLA requires the following mandatory loan disclosures be made to
18
     a covered borrower before or at the time the borrower becomes obligated on a closed-
19

20 end transaction of the type involved here:

21         A.     A statement of the applicable MAPR;
22
           B.     Any disclosures required by Regulation Z;
23

24         C.     A clear description of the payment obligation which would include a
25                payment schedule for this closed-end credit.
26
27         55.    The written MAPR disclosures do not need to be expressed in a
28 numerical value and may be made in the contract itself or may be given on a separate

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 1 document. The CFR even provides in section (c)(3) model disclosure language to

 2
     satisfy this requirement which explains to the borrower costs of credit transaction by
 3

 4 describing some of the fees and costs that must be included in the annual percentage

 5 rate.

 6

 7         56.   The annual percentage rate when properly calculated pursuant to the

 8 MLA is known as the Military Annual Percentage Rate or “MAPR” and should

 9
     include 1) any credit insurance premium or fee, any charge for single premium credit
10

11 insurance, any fee for a debt cancellation contract, or any fee for a debt suspension

12 agreement and 2) any fee for a credit-related ancillary product sold in connection

13
     with the credit transaction for closed-end credit or an account for open-end credit
14

15 pursuant to 32 C.F.R. § 232.4. The true MAPR for Plaintiff was 26.31% and not

16 22.99%. United did not include these costs in its cost of credit disclosures to Plaintiff

17
     or to Class members.
18

19         57.   Plaintiff and Class members incurred damages as a direct and proximate
20 result of United’s violation of 10 U.S.C. § 987(c)(1) by their standard form

21
     Installment Contracts failing to provide the mandatory MLA disclosures under 10
22

23 U.S.C. § 987(c)(1).

24         58.   The MLA’s “Penalties and Remedies” subsection provides, in part, that
25
     “any credit agreement, promissory note, or other contract prohibited under this
26
27 section is void from the inception of such contract.” 10 U.S.C. § 987(f)(3).

28

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 1         59.    The United States Supreme Court has held that “when Congress
 2
     declare[s] in [a statute] that certain contracts are void, it intend[s] that the customary
 3

 4 legal incidents of voidness follow, including the availability of a suit for rescission or

 5 for an injunction against continued operation of the contract, and for restitution.”

 6
     Transamerica Mortg. Advisors, Inc. (TAMA) v. Lewis, 444 U.S. 11, at 19 (1979).
 7

 8         60.    As a direct and proximate cause of United’s violation, Plaintiff and the

 9 Class are entitled to statutory damages of $500 per violation, actual and punitive

10
     damages along with injunctive relief pursuant to the MLA 10 U.S.C. § 987(f)(5)(A).
11

12         61.    Plaintiff and the Class are entitled to attorney fees and costs pursuant to

13 the MLA 10 U.S.C. § 987(f)(5)(B).

14
                                          COUNT II
15                              Violation of the Military Lending Act
16                                       10 U.S.C. §987(c)(1)
                                   (MLA TILA Disclosure Class)
17

18         62.    Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 47
19 as if set forth herein.

20
           63.    Servicemember Plaintiff Davidson was a “covered borrower” and
21

22 “covered member” as those terms are defined pursuant to 32 C.F.R. §232.3(g).

23         64.    United was a “creditor” which provided “credit” to Servicemember
24
     Plaintiff as those terms are defined in 32 C.F.R. §232.3(h) and (i).
25

26         65.    On October 13, 2018, Plaintiff entered into a standard form Installment
27 Contract with United, which was utilized for all Class members, that financed credit-

28

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 1 related costs in amounts in excess of the costs of Plaintiff’s and Class members’

 2
     vehicles, subjecting United to MLA regulations.
 3

 4         66.   Specifically, the identifiable credit-related costs United financed were a)

 5 GAP Coverage ($395.00); b) Processing Fee ($250.00); and completely undisclosed

 6
     Prepaid Interest ($129.61). See Exhibit A.
 7

 8         67.   Plaintiff’s and Class members’ standard form Installment Contracts

 9 provide standard TILA disclosures which do not include these costs in the disclosures

10
     and, therefore, under-disclosed the true cost of credit to Plaintiff and Class members
11

12 under the Installment Contracts. In other words, the costs of their credit are

13 significantly more than the United disclosures state and in the case of the Plaintiff

14
     was a full 3.32% higher than what was listed in the TILA disclosures.
15

16         68.   The MLA requires the following mandatory loan disclosures:
17              (1)      Information required.--With respect to any extension of consumer
18         credit (including any consumer credit originated or extended through the
           internet) to a covered member or a dependent of a covered member, a creditor
19         shall provide to the member or dependent the following information orally and
20         in writing before the issuance of the credit:
21              (A)     A statement of the annual percentage rate of interest applicable to
           the extension of credit.
22

23             (B)    Any disclosures required under the Truth in Lending Act (15
           U.S.C.1601 et seq.).
24

25
               (C)     A clear description of the payment obligations of the member or
           dependent, as applicable.
26
           69.   The annual percentage rate when properly calculated pursuant to the
27

28 MLA is known as the Military Annual Percentage Rate or “MAPR” and should

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 1 include 1) any credit insurance premium or fee, any charge for single premium credit

 2
     insurance, any fee for a debt cancellation contract, or any fee for a debt suspension
 3

 4 agreement and 2) any fee for a credit-related ancillary product sold in connection

 5 with the credit transaction for closed-end credit or an account for open-end credit. 32

 6
     C.F.R. § 232.4. The true MAPR for Plaintiff was 26.31% and not 22.99%. United did
 7

 8 not include these costs in its cost of credit disclosures to Plaintiff or to Class

 9 members.

10
           70.    Specifically, failed to include at minimum the following credit-related
11

12 costs: a processing fee of $250.00; a fee for GAP of $395.00 and failed to disclose a

13 prepaid interest charge of $129.61. See Exhibit A.

14
           71.    Plaintiff and Class members incurred damages as a direct and proximate
15

16 result of United’s violation of 10 U.S.C. § 987(c)(1). Plaintiff and Class members

17 have been harmed and suffered actual damages (as defined by the MLA) by their

18
     standard form Installment Contracts failing to provide the mandatory MLA
19

20 disclosures under 10 U.S.C. § 987(c)(1).

21         72.    The MLA’s “Penalties and Remedies” subsection provides, in part, that
22
     “any credit agreement, promissory note, or other contract prohibited under this
23

24 section is void from the inception of such contract.” 10 U.S.C. § 987(f)(3).

25         73.    The United States Supreme Court has held that “when Congress
26
     declare[s] in [a statute] that certain contracts are void, it intend[s] that the customary
27

28 legal incidents of voidness follow, including the availability of a suit for rescission or

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 1 for an injunction against continued operation of the contract, and for restitution.”

 2
     Transamerica Mortg. Advisors, Inc. (TAMA) v. Lewis, 444 U.S. 11, at 19 (1979).
 3

 4         74.   As a direct and proximate cause of United’s violation, Plaintiff and the

 5 Class are entitled statutory damages of $500 per violation, actual and punitive

 6
     damages along with injunctive relief pursuant to the MLA 10 U.S.C. § 987(f)(5)(A).
 7

 8         75.   Plaintiff and the Class are entitled to attorney fees and costs pursuant to

 9 the MLA 10 U.S.C. § 987(f)(5)(B).

10
                                         COUNT III
11                         Violation of the Military Lending Act
12                                  10 U.S.C. 987 (e)(3)
                         (On Behalf of the Arbitration Clause Class)
13

14         76.   Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 47

15 as if set forth herein.

16
           77.   Plaintiff was a “covered borrower” and “covered member” as those
17

18 terms are defined pursuant to 32 C.F.R. §232.3(g)(1) and (g)(2)(i).

19         78.   United was a “creditor” which provided “credit” to Plaintiff as those
20
     terms are defined in 32 C.F.R. §232.3(h) and (i).
21

22         79.   On October 13, 2018, Plaintiff entered into a standard form Installment
23 Contract with United, which was utilized for all Class members, that financed credit

24
     related costs in amounts in excess of the costs of Plaintiff’s and Class members’
25

26 vehicles, subjecting United to MLA protections pursuant to 82 Fed. Reg. 239, at
27 58740 (Dec. 14, 2017).

28

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 1         80.    Plaintiff’s and Class members’ Installment Contracts contain a
 2
     mandatory arbitration clause under the paragraph titled “Arbitration Provision” which
 3

 4 states that it applies to “all claims and disputes arising from this contract.”

 5         81.    The MLA 10 U.S.C. § 987(e)(3) declares that requiring covered
 6
     borrowers to submit to arbitration is unlawful:
 7

 8         Limitations. —It shall be unlawful for any creditor to extend consumer
           credit to a covered member or a dependent of such a member with
 9         respect to which—
10
           (3) the creditor requires the borrower to submit to arbitration or imposes
11         onerous legal notice provisions in the case of a dispute.
12         82.    United’s Installment Contract Arbitration Provision violates Plaintiff’s
13
     and Class members’ MLA 10 U.S.C. § 987(e)(3) rights prohibiting agreements that
14

15 require arbitration to resolve disputes. Although the clause uses the feigns to be of an

16 opt-out nature, it does not actually permit the consumer to opt-out as United can and

17
     does assert the arbitration clause defensively in order to block a consumer’s access to
18

19 the courts.

20         83.    As a direct and proximate result of United’s violation of 10 U.S.C.
21
     §987(e)(3). Plaintiff and Class members have been harmed and suffered actual
22

23 damages (as defined by the MLA) by their standard form Installment Contracts

24 containing unlawful provisions requiring arbitration to resolve disputes with United.

25
           84.    The MLA’s “Penalties and Remedies” subsection provides, in part, that
26
27 “any credit agreement, promissory note, or other contract prohibited under this

28 section is void from the inception of such contract.” 10 U.S.C. § 987(f)(3).

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 1         85.    The United States Supreme Court has held that “when Congress
 2
     declare[s]in [a statute] that certain contracts are void, it intend[s] that the customary
 3

 4 legal incidents of voidness follow, including the availability of a suit for rescission or

 5 for an injunction against continued operation of the contract, and for restitution.”

 6
     Transamerica Mortg. Advisors, Inc. (TAMA) v. Lewis, 444 U.S. 11, at 19 (1979).
 7

 8         86.    Thus, all United Installment Contracts substantially similar to Plaintiff’s

 9 Installment Contract entered into with a covered borrower containing an “Arbitration

10
     Agreement” are void, must be either reformed or rescinded, and restitution must be
11

12 paid for all amounts paid by class members to United, “[b]y declaring certain

13 contracts void, [the MLA] by its terms necessarily contemplates that the issue of

14
     voidness under its criteria may be litigated somewhere[,]” for “[a] person with the
15

16 power to void a contract ordinarily may resort to a court to have the contract

17 rescinded and to obtain restitution of consideration paid.” Id. at 18, 100 S.Ct. 242.

18
     This scheme “displays a [congressional] intent to create not just a private right but
19

20 also a private remedy.” Alexander v. Sandoval, 532 U.S. 275, at 286 (2001) (citing

21 Transamerica, 444 U.S. at 15, 100 S.Ct. 242).

22
           87.    Plaintiff and the Class seek statutory damages in the amount of $500 per
23

24 statutory violation, actual and punitive damages, along with injunctive relief pursuant

25 to the MLA 10 U.S.C. § 987(f)(5)(A).

26
           88.    Plaintiff and the Class seek attorney fees and costs pursuant to the MLA
27

28 10 U.S.C. § 987(f)(5)(B).

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 1                                  PRAYER FOR RELIEF
 2
           WHEREFORE, Plaintiff prays that the Court enter an Order:
 3

 4         A.     Certifying this action as a class action as provided by Rule 23 of the

 5 Federal Rules of Civil Procedure, appointing Plaintiff as Class Representative, and

 6
     appointing undersigned as Class Counsel;
 7

 8         B.     Declaring that Defendant violated the MLA, and adjudging that

 9 Plaintiff’s and Class members’ Installment Contracts are void and determining

10
     appropriate relief in the form of rescission, restitution or reformation;
11

12         C.     Adjudging that Defendant violated the MLA and award Plaintiff and

13 Class members statutory damages of $500 per violation, actual and punitive damages

14
     pursuant to 10 U.S.C. § 987(f)(5)(A);
15

16         D.     Awarding Plaintiff, and all those similarly situated, reasonable attorney’s
17 fees and costs incurred in this action pursuant to 10 U.S.C. § 987(f)(5)(B);

18
           E.     Enjoining United from financing to consumers without making a
19

20 reasonable effort to determine whether a borrower is protected by the MLA;

21         F.     Enjoining United from further violating the MLA with their Installment
22
     Contracts and requiring future contracts with covered borrowers to provide proper
23

24 disclosures pursuant to the MLA;

25         G.     Awarding Plaintiff, and all those similarly situated, any pre-judgment
26
     and post-judgment interest as may be allowed under the law; and
27

28

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 1         H.    Awarding such other and further relief as the Court may deem just and
 2
     proper.
 3

 4                                 JURY TRIAL DEMAND

 5         Plaintiff demands a jury trial on all issues so triable.
 6
                                                    AHDOOT & WOLFSON, PC
 7

 8

 9                                                  Tina Wolfson
10                                                  Ruhandy Glezakos
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19                                                  Fax: 352-504-3301
20                                                  jvarnell@varnellandwarwick.com
21                                                  Counsel for Plaintiff Jerry Davidson,
22                                                  individually and on behalf of all others
                                                    similarly situated
23

24

25

26
27

28

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 1                           CERTIFICATE OF SERVICE
 2
          I hereby certify that a copy of the foregoing was served on the following via
 3 the CM/ECF electronic filing system on the ____ day of June, 2020:

 4
          Raymond Y. Kim
 5        Rachel Y. Chuang
 6        REED SMITH LLP
          355 South Grand Avenue
 7        Suite 2900
 8        Los Angeles, California 90071

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                           EXHIBIT A
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